                     IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                             Civil Action No. 1:22-CV-680



Damian McDonald, on behalf of the             )
Laboratory Corporation of America             )
Holdings Employees’ Retirement Plan,          )
himself, and all others similarly situated,   )
                                              )
               Plaintiff,                     )
                                              )
         v.                                   )
                                              )
Laboratory Corporation of America             )
Holdings,

               Defendant.

    CONSENT MOTION TO EXTEND TIME TO RESPOND TO COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 6(b) and Local Civil Rule 6.1

(M.D.N.C.), Laboratory Corporation of America Holdings (“Defendant”), with the consent

of Damian McDonald, on behalf of the Laboratory Corporation of America Holdings

Employees’ Retirement Plan, himself, and all others similarly situated (“Plaintiff”), hereby

moves that the current deadline to respond to the Complaint filed by Plaintiff in the above-

captioned matter (the “Complaint”) be extended and continued as set forth below. In

support of this motion, the parties respectfully show the following:

         1.    Plaintiff filed the Complaint on August 18, 2022.

         2.    The Complaint was served upon Defendant on August 24, 2022.

         3.    Pursuant to Fed. R. Civ. P. 12, Defendant’s response to the Complaint is due

by or on September 14, 2022.



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         4.    Defendant requires additional time to investigate and respond to the

allegations in the Complaint.

         5.    Defendant has requested, and Plaintiff has agreed to, an extension of time to

allow for sixty (60) days from the date of service upon Defendant for Defendant to respond

to the Complaint.

         6.    This Motion is brought for legitimate need and not for purpose of delay. A

proposed Order is submitted herewith.

         WHEREFORE, Defendant, with the consent of Plaintiff, respectfully requests that

the deadline to respond to the Complaint be extended through and until October 24, 2022.

         Respectfully submitted, this 13th day of September, 2022


                                           K&L GATES LLP

                                           /s/ David C. Lindsay
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                                           Email: david.lindsay@klgates.com
                                           M. Claire Flowers (NC Bar No. 58432)
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                                           Notice of Special Appearance forthcoming



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                                      /s/ Lars C. Golumbic
                                      Lars C. Golumbic (D.C. Bar No. 452143)
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                                      ATTORNEYS FOR DEFENDANT




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WE SO CONSENT:

                                      /s/ Matthew Norris
                                      J. Matthew Norris
                                      NC Bar No. 37206
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                                      forthcoming)
                                      Florida Bar No. 37061
                                      Luis A. Cabassa, P.A. (pro hac vice
                                      application forthcoming)
                                      Florida Bar No. 0053643
                                      Amanda E. Heysteak (pro hac vice application
                                      forthcoming)
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                                      ATTORNEYS FOR PLAINTIFF



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                             CERTIFICATE OF SERVICE



         I HEREBY CERTIFY that the foregoing was filed with the Clerk of Court and

electronically served via CM/ECF upon all parties of record on this 13th of September,

2022.



                                         /s/ David C. Lindsay




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                     IN THE UNITED STATES DISTRICT COURT
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Damian McDonald, on behalf of the             )
Laboratory Corporation of America             )
Holdings Employees’ Retirement Plan,          )
himself, and all others similarly situated,   )
                                              )
               Plaintiff,                     )
                                              )
         v.                                   )
                                              )
Laboratory Corporation of America             )
Holdings,

               Defendant.

  ORDER GRANTING CONSENT MOTION TO EXTEND TIME TO RESPOND
                      TO COMPLAINT

         THIS MATTER has come before the Court on the Consent Motion to Extend Time

to Respond to Complaint (the “Motion”) filed by Defendant Laboratory Corporation of

America Holdings, and consented to by Plaintiff, Damian McDonald on behalf of the

Laboratory Corporation of America Holdings Employees’ Retirement Plan, himself, and

all others similarly situated.

         FOR GOOD CAUSE SHOWN, including the consent of the appearing parties, the

Motion is hereby GRANTED. The deadline for Defendant to respond to the Complaint is

hereby extended through and including October 24, 2022.




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IT IS SO ORDERED.

This the _____ day of _______________, 2022.

                                               ______________________________

                                               United States District Court Judge




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